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                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS

United States of America,

                   Plaintiff,

v.                                                           Case No. 03-20051-02-JWL

Kenneth Waterbury,

                   Defendant.

                                MEMORANDUM & ORDER

      In May 2004, a jury convicted defendant Kenneth Waterbury of conspiracy to distribute

more than 500 grams of methamphetamine; possession with intent to distribute five or more

grams of methamphetamine; and being a felon in possession of a firearm. In February 2005, the

court adopted the presentence investigation report’s determination that Mr. Waterbury’s base

offense level under U.S.S.G. § 2D1.1 was 32; his total offense level was 34 after a two-level

enhancement for possessing a firearm in connection with the offense; and his criminal history

category was VI. The resulting guideline range for imprisonment was 262 to 327 months. The

court sentenced Mr. Waterbury to a sentence of 325 months.

      This matter is before the court on Mr. Waterbury’s motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which he asks the court to reduce his sentence based on

Amendment 782 to the United States Sentencing Guidelines which took effect on November 1,

2014 and lowers the base offense levels in the Drug Quantity Table. Under the amended

guidelines, Mr. Waterbury’s total offense level is 32 with a corresponding amended guideline

range of 210 months to 262 months imprisonment. In his motion for reduction, Mr. Waterbury
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requests that the court “revise his sentence to conform to the Guideline amendment.” Mr.

Waterbury does not suggest where within the amended range the court should resentence him.

In response, the government concedes that Mr. Waterbury is eligible for a reduction (and the

parties agree as to the amended range) but contends that a reduction is not warranted in light of

Mr. Waterbury’s extensive disciplinary record while in custody with the Bureau of Prisons.

       Following the Supreme Court’s decision in Dillon v. United States, 560 U.S. 817 (2010),

the Tenth Circuit has recognized that § 3582(c)(2) “prescribes a two-step inquiry for

determining whether a defendant is entitled to have his originally-imposed sentence reduced:

the first question, a matter of law, is whether a sentence reduction is even authorized; the second

question, a matter of discretion, is whether an authorized reduction is in fact warranted.” United

States v. White, 765 F.3d 1240, 1245 (10th Cir. 2014) (emphasis in original). Because the

government does not dispute that a sentence reduction is authorized in this case, only the second

question is at issue here. In determining whether a sentence is warranted, the district court must

“consider the § 3553(a) sentencing factors, including the nature, seriousness, and circumstances

of the offense, the history and characteristics of the defendant, the need to protect the public

from further crimes of the defendant, and any threat to public safety.”          United States v.

Meridyth, 573 Fed. Appx. 791, 794 (10th Cir. 2014) (citations omitted).

       The court concludes that a reduction is warranted and, consistent with its practice, will

resentence Mr. Waterbury very near the high-end of the amended range as it did in connection

with Mr. Waterbury’s original sentence. There is nothing in the record to suggest that a greater

reduction is warranted and, as noted earlier, Mr. Waterbury does not specifically seek a greater

reduction in any event. In granting a reduction to close to the high end of the amended range,

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the court rejects, as it has done in other cases, the government’s argument concerning Mr.

Waterbury’s post-sentencing misconduct.       Although the government highlights that Mr.

Waterbury has engaged in “repetitive” offenses, including offenses involving dangerous

weapons, the court nonetheless believes that Mr. Waterbury’s post-sentencing misconduct

should not prevent him from receiving the adjustment to which he is otherwise entitled. The

Bureau of Prisons has adequate sanctions at its disposal to address Mr. Waterbury’s violations

and the record reflects that the BOP has consistently punished Mr. Waterbury by reducing his

good time credits, imposing administrative segregation, and by reducing his telephone,

commissary, visiting and email privileges in response to Mr. Waterbury’s violations. Moreover,

in resentencing eligible defendants under Amendment 782, the court endeavors to determine

what sentence a particular defendant should have received had the revised drug tables been in

effect at that time.    That determination necessarily would not include post-sentencing

misconduct. Thus, absent any indication from the Tenth Circuit that the court must or should

take into account post-sentencing conduct (as opposed to recognizing that a court has discretion

to consider post-sentencing conduct), the court will continue to permit the BOP to address a

defendant’s post-sentencing misconduct rather than punishing a defendant for that conduct in

connection with resentencing under Amendment 782.



      IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Waterbury’s motion

for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 646) is granted as described

herein and Mr. Waterbury’s sentence is reduced from 325 months to 260 months



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imprisonment. All other provisions of the judgment dated February 25, 2005 shall remain in

effect.



          IT IS SO ORDERED.



          Dated this 1st day of September, 2015, at Kansas City, Kansas.

          Effective Date: November 1, 2015.



                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge




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